      Case 2:07-cr-02042-WFN        ECF No. 813   filed 06/30/15    PageID.4218 Page 1 of 1




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 5                                UNITED STATES DISTRICT COURT
 6                              EASTERN DISTRICT OF WASHINGTON
 7 UNITED STATES OF AMERICA,
                                                         No.       2:07-CR-2042-WFN-3
 8                                Plaintiff,
 9              -vs-                                     ORDER
10 NICHOLAS GUERRERO,
11                                Defendant.
12
13              Pending before the Court is Defendant's Motion to Modify Imposition of Sentence.
14   ECF No. 811. Defendant was sentenced pursuant to a Rule 11(c)(1)(C) Plea Agreement
15   for what turned out to be a below guideline sentence. Amendment 782 only applies when
16   the original sentence was based on the Guidelines. Defendant's sentence was not.
17   Therefore, Defendant is ineligible for resentencing.
18              The Court has reviewed the file and Motion and is fully informed. Accordingly,
19              IT IS ORDERED that Defendant's Motion to Modify Imposition of Sentence, filed
20   June 5, 2015, ECF No. 811, is DENIED.
21              The District Court Executive is directed to file this Order and provide copies to
22   counsel.
23              DATED this 30th day of June, 2015.
24
25                                                  s/ Wm. Fremming Nielsen
26                                                    WM. FREMMING NIELSEN
     06-26-15                                  SENIOR UNITED STATES DISTRICT JUDGE
27
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     ORDER
